     Case 1:11-cr-00095-GLR       Document 308   Filed 03/14/16   Page 1 of 19



                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA                 *

             vs.                         *   CRIMINAL NO. MJG-11-0095

JOHN I. FRANKLIN, Jr., et al.            *

*        *          *         *          *         *         *         *         *

                  MEMORANDUM AND ORDER RE: § 2255 MOTIONS

     The Court has before it Petitioner's Motion Under 28 U.S.C.

§ 2255 to Vacate, Set Aside, or Correct a Sentence By a Person

in Federal Custody [ECF No. 268], Petitioner's Supplemental

Motion Under 28 U.S.C. § 2255 to Vacate, Set Aside, or Correct a

Sentence By a Person In Federal Custody [ECF No. 285] and the

materials submitted relating thereto.



I.   BACKGROUND

     On February 10, 2012, Defendant John Franklin ("Franklin")

was convicted by a jury on all six counts of the Indictment

charging him in regard to two carjackings perpetrated on August

14, 2010.    The charges are:

             1.    Conspiracy to commit carjacking (18 U.S.C. § 371)

             2.    Carjacking (18 U.S.C. § 2119(1)).

             3.    Firearm possession and brandishing in furtherance
                    of a crime of violence. (18 U.S.C. §
                    924(c)(1)(A)(ii)).

             4.    Carjacking (18 U.S.C. § 2119(1)).
      Case 1:11-cr-00095-GLR   Document 308   Filed 03/14/16   Page 2 of 19



            5.   Firearm possession and brandishing in furtherance
                  of a crime of violence (18 U.S.C. §
                  924(c)(1)(A)(ii)).

            6.   Firearm possession by a felon (18 U.S.C. §
                  922(g)(1)).

Superseding Indictment [ECF No. 115].

      On April 13, 2013, Franklin was sentenced to a total of 414

months of incarceration, consisting of:

      Counts 1, 2, 4 and 6 – 30 months each, concurrent

      Count 3 – 84 months consecutive

      Count 5 – 300 months consecutive

Judgment [ECF No. 173].

      On November 6, 2013, the United States Court of Appeals for

the Fourth Circuit affirmed the conviction and sentence.               United

States v. Franklin, 545 F. App'x 243 (4th Cir. 2013).

      By the instant Motion, timely filed, pursuant to 28 U.S.C.

§ 2255, Petitioner seeks to have his conviction and sentence

vacated.


II.   ORIGINAL MOTION

      A.    Asserted Grounds

      Petitioner contends he is entitled to relief because:

            1.    On arraignment, he was not correctly advised as
                  to mandatory minimum sentences.

            2.    He was denied the effective assistance of trial
                  counsel.


                                      2
    Case 1:11-cr-00095-GLR   Document 308   Filed 03/14/16   Page 3 of 19



            3.    He was denied the effective assistance of
                  appellate counsel.

            4.    He can rely on the decision in Rosemond v. United
                  States, --- U.S. ----, 134 S. Ct. 1240 (2014).

            5.    The post-trial conviction of a police officer
                  witness constitutes new evidence.

Mot. 2-4, ECF No. 268.

     These assertions shall be addressed in turn.



     B.    Discussion of Asserted Grounds

            1.   The Magistrate Judge's Arraignment Error

     Petitioner was arraigned before a visiting Magistrate

Judge.    Prior to advising Petitioner of the potential sentences

he faced, the Magistrate Judge stated;

            I am going to go through the charges and
            explain them to you in a summary fashion and
            also the maximum penalties. And
            [Prosecutor] I would ask you that if I make
            any errors, please bring them to my
            attention so – I know these are all summary
            and I may be leaving something out.

Tr. 3:6-10, Mar. 11, 2011, ECF No. 188.

     She did, in fact, leave something out; the omission was

material and was not brought to her attention by the prosecutor.

     The Magistrate Judge stated in regard to the charges of

firearm possession and brandishing in furtherance of a crime of

violence, 18 U.S.C. § 924(c)(1)(A)(ii):



                                    3
    Case 1:11-cr-00095-GLR    Document 308   Filed 03/14/16   Page 4 of 19



                  Counts 3 and 5 charge possession of a
             firearm in furtherance of a crime of
             violence. Those counts carry a maximum life
             sentence plus a mandatory minimum 7 years in
             prison. So between 7 years and life plus a
             fine of $250,000 and a term of 5 years
             supervised release and a $100 special
             assessment.

Id. at 3:21-4:1.

     This statement was misleading to Petitioner.             Specifically,

it did not inform Petitioner that if he was convicted on both

Counts 3 and 5, he faced a mandatory minimum sentence of 32

years, 7 years on one of the counts and 25 years consecutive on

the other.

     The Government contends that Petitioner is procedurally

barred from asserting the Magistrate Judge's arraignment error

in the instant motion.       The Government states in this regard:

that "it is only Petitioner's ineffective assistance of counsel

claim that opens the door to the present post-conviction

consideration of his plea. Therefore, the issue to be resolved

here is whether Petitioner can substantiate an ineffective

assistance of counsel claim based on the alleged sentencing

misinformation given at trial."       Gov't Resp. 8, ECF No. 275.

     The Court finds that even if the arraignment error issue

were not procedurally barred, it would not be a basis for relief

for Petitioner absent a showing of prejudice.           The essential

question here present is not whether Petitioner was misinformed
                                     4
    Case 1:11-cr-00095-GLR   Document 308   Filed 03/14/16   Page 5 of 19



about the pertinent mandatory minimum sentence at the time of

arraignment but at the time he decided to reject a plea

agreement calling for a 12-year sentence.         Thus, the arraignment

issue melds into Petitioner's contention that trial counsel was

ineffective because he did not advise Petitioner of the

potential 32-year mandatory minimum sentence.

     Accordingly, the matter shall be addressed herein in regard

to Petitioner's ineffective assistance of counsel contentions.



          2. Ineffective Assistance of Trial Counsel

     In order to prevail on a claim that counsel's

representation violated his Sixth Amendment right to effective

assistance of counsel, Petitioner must show (1) "that counsel's

representation fell below an objective standard of

reasonableness,"1 and (2) "that there is a reasonable probability

that, but for counsel's unprofessional errors, the result of the

proceeding would have been different."        Strickland v.

Washington, 466 U.S. 668, 687-88, 694 (1984).          "A reasonable

probability is a probability sufficient to undermine confidence

in the outcome [of the proceedings]."       Id. at 694.

     If, on a § 2255 motion, the motion and the files and

records of the case do not conclusively show that the prisoner
1
     Thus overcoming a presumption that counsel's conduct (i. e.
representation of the criminal defendant) was reasonable. See
Strickland v. Washington, 466 U.S. 668, 687-88 (1984).
                                5
    Case 1:11-cr-00095-GLR   Document 308   Filed 03/14/16   Page 6 of 19



is not entitled to relief, the court must make findings of fact

and conclusions of law regarding the issues presented. 28 U.S.C.

§ 2255.   As discussed herein, several of Petitioner's

ineffective assistance of counsel claims are based upon

statements allegedly made to him by trial counsel.           The

Government has not presented evidence refuting Petitioner's

affidavit regarding these statements.       Hence, in considering

whether the record conclusively shows that Petitioner cannot

prevail, the Court must assume that these statements were made

as set forth in Petitioner's affidavit.

     As discussed herein, the record does not conclusively show

that Petitioner cannot prevail on his ineffective assistance of

counsel claims regarding his rejection of an offered plea

agreement.    Of course, the Court is not determining that these

contentions are meritorious.      However, Petitioner is entitled to

an evidentiary hearing regarding these claims.



             a. Rejection of the Plea Agreement Offer Claims

     The Government does not appear to dispute that Petitioner

rejected the offer of a plea agreement that would have resulted

in a sentence of 12 years of incarceration.         Petitioner claims

that he was denied the effective assistance of counsel in regard

to his rejection of the plea agreement.


                                    6
    Case 1:11-cr-00095-GLR   Document 308   Filed 03/14/16   Page 7 of 19



     In Lafler v. Cooper, --- U.S. ----, 132 S. Ct. 1376 (2012),

a defendant charged with assault with intent to commit murder

and other charges was offered a plea agreement that included a

recommendation for a sentence of 51 to 85 months.            Id. at 1383.

Counsel advised the Defendant to reject the offer because,

counsel said, the prosecution could not establish intent to

commit murder.   Id.   In Lafler, the prosecution conceded "that

counsel's advice with respect to the plea offer fell below the

standard of adequate assistance of counsel guaranteed by the

Sixth Amendment . . . ."     Id.   The Defendant proceeded to trial,

was convicted and received a sentence of 185 to 360 months.                 Id.

      The Lafler Court stated:

               Defendants have a Sixth Amendment right
          to counsel, a right that extends to the
          plea-bargaining process. During plea
          negotiations defendants are "entitled to the
          effective assistance of competent counsel."
          . . . In this case all parties agree the
          performance of respondent's counsel was
          deficient when he advised respondent to
          reject the plea offer on the grounds he
          could not be convicted at trial.

          . . . .

               The question for this Court is how to
          apply Strickland's prejudice test where
          ineffective assistance results in a
          rejection of the plea offer and the
          defendant is convicted at the ensuing trial.

               To establish Strickland prejudice a
          defendant must "show that there is a
          reasonable probability that, but for
                                    7
    Case 1:11-cr-00095-GLR   Document 308   Filed 03/14/16   Page 8 of 19



          counsel's unprofessional errors, the result
          of the proceeding would have been
          different." In the context of pleas a
          defendant must show the outcome of the plea
          process would have been different with
          competent advice.

Id. at 1384 (citations omitted).

     Thus, the question presented is whether trial counsel's

advice pertinent to the plea agreement was constitutionally

deficient and, if so, whether, absent the erroneous advice,

Petitioner would have accepted the offered plea agreement.



                i. The Mandatory Minimum Sentence Contention

     As discussed above, the visiting Magistrate Judge

conducting the arraignment advised Petitioner that he faced

mandatory minimum sentences of 7 years on each of Counts 3 and 5

but did not advise him that if he was convicted on both Counts 3

and 5, the mandatory minimum sentence would be 32 years.

Petitioner states in his affidavit that trial counsel did not

advise him of the potential 32-year mandatory minimum sentence

and that, had he done so, Petitioner would have accepted a plea

agreement that would have resulted in a 12-year sentence. Pet'r

Aff. ¶¶ 2-3, ECF No. 268-1.

     The Government does not offer any evidence contradicting

Petitioner's affidavit but asserts that it is "self-serving."

Gov't Resp. 12, ECF No. 275.      Of course, it is self-serving; but
                                    8
    Case 1:11-cr-00095-GLR   Document 308   Filed 03/14/16   Page 9 of 19



it is the only evidence of record regarding what he was told by

trial counsel.

     The Court does not find that the record, as it now exists,

conclusively refutes Petitioner's statement that he was

uninformed by trial counsel of the mandatory minimum sentence he

faced if convicted on both Counts 3 and 5 at trial.            Nor does

the record now conclusively establish that a failure to provide

this information would, in context, have been below the standard

for effective assistance of counsel.        If it had been below that

standard, it would be necessary to determine if, having been

given the correct advice, Petitioner would have accepted the

plea agreement that he rejected.

     Thus, the Court finds it necessary to make factual

determinations regarding the mandatory minimum sentence

contention.



                 ii.   The Conspiracy Advice Contention

     Petitioner claims that trial counsel "told me I should go

to trial because they could beat the conspiracy charge and

without a conspiracy conviction the government had no case

against me."   Pet'r Aff. ¶ 6, ECF No. 268-1.         The Government

offers no evidence to contradict Petitioner's affidavit and may




                                    9
    Case 1:11-cr-00095-GLR   Document 308   Filed 03/14/16   Page 10 of 19



be agreeing2 that the advice was given.        In either event, the

record does not conclusively refute Petitioner's contention that

the advice was given and was erroneous because competent counsel

would not have advised him that he could prevail on the

conspiracy charge.

     Since, as it appears must be assumed for present purposes,

Petitioner had been given deficient advice regarding the

prospect of acquittal on the conspiracy charge, the Court must

consider whether he would have accepted the offer had competent

advice been provided to him.      It must be noted that acquittal on

the conspiracy charge could well result in acquittal on all

charges on which he was subject to conviction as a co-

conspirator on a Pinkerton3 theory.

     The record does not conclusively establish that Petitioner

cannot prevail on the "conspiracy advice" claim.             Thus, the

Court finds it necessary to make factual determinations

regarding the "conspiracy advice" contention.



                 b. Police Report Impeachment

      Petitioner claims that counsel "failed to impeach the




2    It is not clear if the Government is assuming that the
advice was given or actually agrees that it was given as
Petitioner states.
3    328 U.S. 640 (1946).
                                10
   Case 1:11-cr-00095-GLR   Document 308   Filed 03/14/16   Page 11 of 19



relevant witnesses with a police report of the description

of the alleged suspects, none of which matched me."            Pet'r

Aff. ¶ 7, ECF No. 268-1.

     The Court finds that trial counsel made a reasonable

tactical decision to eschew impeaching Mr. Sean Gallion-

Thomas regarding his identification of Petitioner as one of

the individuals present in his car when his car was

carjacked.   Any defense effort to deny Petitioner's presence

at the time would have been ineffective and likely

counterproductive.     To the extent that there may have been

any viable defense theory at all, it would not be based upon

the purported absence of Petitioner from the scenes of the

crimes.

     The record conclusively shows that there is no

reasonable probability that trial counsel's use of the

description would have resulted in a verdict more favorable

to Petitioner.



                 c.   Jury Instruction Conference

     Petitioner contends that trial counsel provided

constitutionally ineffective assistance when they did not advise

Petitioner of his right to be present during the jury

instruction conference.     However Petitioner had no such right.

                                   11
   Case 1:11-cr-00095-GLR   Document 308   Filed 03/14/16   Page 12 of 19



        Rule 43(b)(3), Federal Rules of Criminal Procedure,

provides that a defendant need not be present at a proceeding

that "involves only a conference or hearing on a question of

law."

        The record conclusively shows that Petitioner cannot

prevail on the jury instruction conference contention.



                       d. Jury Instruction

        Petitioner contends that trial counsel provided

constitutionally ineffective assistance when they failed to

request a jury instruction that Petitioner could not be found

guilty of aiding and abetting the 924(c) charges if the

Government failed to prove that Petitioner had advance knowledge

that one of the other assailants was in possession of a firearm.

        This contention is based upon the Supreme Court decision in

Rosemond v. United States, --- U.S. ----, 134 S. Ct. 1240

(2014).    In Rosemond, the Supreme Court granted certiorari "to

resolve the Circuit conflict over what it takes to aid and abet

a § 924(c) offense." Id. at 1245.       The Court held that "the

District Court erred in instructing the jury, because it did not

explain that Rosemond needed advance knowledge of a firearm's

presence" to be convicted as an aider and abettor. Id. at 1251.




                                   12
   Case 1:11-cr-00095-GLR   Document 308   Filed 03/14/16   Page 13 of 19



     The critical problem with this ineffective assistance of

counsel claim is that the jury verdict was rendered on February

10, 2012, and the Supreme Court did not grant certiorari in

Rosemond until May 28, 2013, more than a year later and did not

issue its decision until March 5, 2014, two years after the

trial of the instant case was concluded.

     There has been no plausible showing of ineffective

assistance of counsel for not having anticipated that, some two

years later, a Supreme Court decision would have given them a

basis to request an instruction requiring proof that Petitioner

had advance knowledge that a firearm would be present at the

carjackings.

     The record conclusively shows that Petitioner cannot

prevail on the jury instruction contention.



          e.   Out of Court Identification

     Petitioner claims that trial counsel provided

constitutionally ineffective assistance when they failed to

request that an out-of-court identification be suppressed when

the District Court gave counsel that opportunity.

     In this case, the essence of the defense strategy – and the

only plausible defense strategy – was to acknowledge that

Petitioner was present at the time of the carjackings but that


                                   13
   Case 1:11-cr-00095-GLR   Document 308   Filed 03/14/16   Page 14 of 19



he did not participate in the crimes.       The victim of the first

carjacking made an out-of-court photo array identification of

Petitioner that the Court would have suppressed.            However,

Petitioner's counsel did not want suppression of the evidence

but chose to utilize it in cross-examination of the victim.             The

Court finds no reason to fault this tactical decision.

     The record conclusively shows that Petitioner cannot

prevail on the out-of-court identification contention.



          3.   Ineffective Assistance of Appellate Counsel

                a.   Jury Instruction conference

     Petitioner contends that appellate counsel provided

constitutionally ineffective assistance when she failed to argue

that Petitioner's rights were violated when the jury instruction

conference was held out of his presence and without any waiver

of his presence.

     As discussed above, Petitioner had no right to be present

at the jury instruction conference.        See Rule 43(b)(3), Federal

Rules of Criminal Procedure.

     The record conclusively shows that Petitioner cannot

prevail on the jury instruction conference contention.




                                   14
   Case 1:11-cr-00095-GLR   Document 308   Filed 03/14/16   Page 15 of 19



                b.    Out of Court Identification

     Petitioner contends that appellate counsel provided

constitutionally ineffective assistance when she failed to argue

that the out-of-court identification by Mr. Gallion-Thomas

should have been suppressed. As discussed above, trial counsel

made the tactical decision – a valid one in the view of the

Court - not to seek to suppress the identification but to

utilize it during cross-examination of the victim.           Appellate

counsel had no basis to raise the suppression issue on appeal.

     The record conclusively shows that Petitioner cannot

prevail on the out-of-court identification contention.



                c.   The Rosemond Case Motions

     Petitioner contends that appellate counsel provided

constitutionally ineffective assistance when she failed to

request that the appeal be held in abeyance pending the Supreme

Court's resolution of Rosemond or request that Franklin be

allowed to supplement his petition for writ of certiorari.

     Petitioner seeks to have this Court determine what would

have been done by the United States Court of Appeals for the

Fourth Circuit and the Supreme Court had appellate counsel,

sometime after May 28, 2013 (when certiorari was granted in

Rosemond), sought procedural relief, i.e., a stay of decision by


                                   15
   Case 1:11-cr-00095-GLR   Document 308   Filed 03/14/16   Page 16 of 19



the Fourth Circuit and leave to file a supplement to a petition

for certiorari in the Supreme Court.

      As discussed below, Petitioner contends that, without

regard to the ineffective assistance of counsel contention, he

is entitled to relief by virtue of the Rosemond decision.

     The Court finds that oral argument will be helpful

regarding the Rosemond decision issues.



          4.   Post-Trial Conviction of Police Officer

     Petitioner contends that his constitutional rights to a

fair trial were violated because a police officer who offered

substantial evidence against him at trial was later convicted of

committing perjury and misconduct in the course of his

employment.

     A police officer testified at Petitioner's trial that he

recovered a cellphone belonging to the first carjacking victim,

Mr. Gallion-Thomas, during a pat down of Petitioner.           Petitioner

has presented evidence indicating that the police officer

pleaded guilty to charges of perjury and misconduct in office,

sentenced to three years of incarceration, all but six months

suspended, the six months to be on house-arrest.            While the

sentencing proceeding was held May 8, 2014, Petitioner asserts

that the offenses were committed in June 2012.          Petitioner


                                   16
    Case 1:11-cr-00095-GLR   Document 308   Filed 03/14/16   Page 17 of 19



contends that because of the perjury conviction of the police

officer, his constitutional right to a fair trial was denied.

     The Government – for some reason – did not respond at all

to this contention.

     Under the circumstances, the Court will require a response

by the Government.     However, the Court first will require a

clarification of Petitioner's claim in regard to this matter.

In particular, Petitioner must explain the basis upon which he

contends that there was a violation of his constitutional rights

in a trial ending February 2012 by virtue of perjury in an

unrelated matter that was committed in June 2012 and resulted in

a conviction in 2014.



           5.   The Rosemond Decision

     Petitioner contends that, by virtue of the Supreme Court

decision in Rosemond, his convictions on the § 924(c) charges

must be vacated.

     The Court finds that this contention warrants oral argument

both as to the substantive merits of the claim4 and whether the

decision can be applied retroactively to the instructions in the

instant case.




4    I.e., whether the instructions given complied with the
Rosemond decision.
                                17
   Case 1:11-cr-00095-GLR   Document 308   Filed 03/14/16   Page 18 of 19



III. THE SUPPLEMENTAL MOTION

     On September 18, 2015, Supplemental Motion Under 28 U.S.C.

§ 2255 to Vacate, Set Aside, Or Correct a Sentence By a Person

In Federal Custody [ECF No. 285] was filed.         Petitioner seeks to

rely upon the Supreme Court decision in Johnson v. United

States, --- U.S. ----, 135 S. Ct. 2551 (2015).

     The Government asserts that Petitioner's arguments, as a

matter of statutory interpretation, are time-barred.           However,

Petitioner seeks to assert constitutional rights newly

recognized by the Supreme Court in Johnson on June 26, 2015 and

are timely pursuant to 28 U.S.C. § 2255(f)(3).

     At present there are a plethora of pending cases in which

prisoners are presenting collateral attacks on § 924(c)

convictions based upon Johnson.         Moreover, there are

inconsistent judicial decisions on the issues presented and no

definitive ruling by the United States Court of Appeals for the

Fourth Circuit.

     Under the circumstances, the issues presented warrant oral

argument and supplemental briefing to be filed shortly before

the oral argument.



IV. CONCLUSION

     For the foregoing reasons:


                                   18
Case 1:11-cr-00095-GLR   Document 308   Filed 03/14/16   Page 19 of 19



       1.    Petitioner's Motion Under 28 U.S.C. § 2255 to
             Vacate, Set Aside, or Correct a Sentence By a
             Person in Federal Custody [ECF No. 268] and
             Petitioner's Supplemental Motion under 28 U.S.C.
             § 2255 to Vacate, Set Aside or Correct a
             Sentence By a Person In Federal Custody [ECF No.
             285] remain PENDING.

       2.    Further proceedings shall be scheduled pursuant
             to the instant discussion.


 SO ORDERED, this Monday, March 14, 2016.


                                                /s/__________
                                          Marvin J. Garbis
                                     United States District Judge




                                19
